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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                         11/2/2020
---------------------------------------------------------------------- X
                                                                       :
PRENTICE COX,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-8590 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
BAKERS PIZZA HK LLC and PARPIS REALTY LLC, :
                                                                       :
                                    Defendants.                        :
                                                                       :
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JOHN P. CRONAN, United States District Judge:

        In response to the parties’ joint letter (Dkt. 31) and the joint request for an extension of the

discovery deadlines (Dkt. 19), the Court hereby extends all discovery deadlines set out in the Case

Management Plan on May 20, 2020 (Dkt. 14) by 90 days. Discovery now must be completed by

February 22, 2021.

        The November 5, 2020 conference is adjourned sine die. Counsel for all parties, including

Papris Realty LLC’s counsel of record, Kenneth Joelson, are reminded that they are directed to

appear before the undersigned for a teleconference on November 9, 2020, at 2:00 p.m. (Dkt. 28) to

discuss Plaintiff’s motion to compel Defendants to respond to discovery demands (Dkt. 19). Any

opposition to Plaintiff’s motion to compel must be filed by November 6, 2020.

        At the Conference, the parties must be prepared to discuss what discovery has taken place

to date. Furthermore, Mr. Joelson should be prepared to explain whether he failed to engage with
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the parties on the joint status letter, as ordered by the Court (Dkt. 27). If so, Mr. Joelson should

further be prepared to explain why he should not be found in contempt of court for failing to do so.

       SO ORDERED.

Dated: November 2, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




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